     Case 2:13-cv-01154-APG-CWH Document 167 Filed 04/30/19 Page 1 of 3




 1

 2

 3                                    UNITED STATES DISTRICT COURT
 4                                          DISTRICT OF NEVADA
 5                                                    ***
 6    ANTHONY MITCHELL, et al.,                              Case No. 2:13-cv-01154-APG-CWH
 7                            Plaintiffs,
 8           v.                                              ORDER SETTING SETTLEMENT
                                                             CONFERENCE
 9    CITY OF NORTH LAS VEGAS, et al.,
10                            Defendants.
11

12           The United States district judge assigned to this case has referred it to the undersigned for

13   a settlement conference. (Order (ECF No. 165).) A settlement conference is hereby set for

14   Thursday, May 30, 2019. Plaintiffs must report to Magistrate Judge Hoffman’s chambers,

15   Room 3014, Lloyd D. George United States Courthouse, 333 Las Vegas Boulevard South, Las

16   Vegas, Nevada, at 8:30 a.m. Defendants must report to Magistrate Judge Hoffman’s chambers at

17   9:00 a.m.

18           Unless the court orders otherwise, the following individual(s) must be present in person

19   for the duration of the settlement conference:

20           1.      An attorney of record who will be participating in the trial and who has full

21   authority to settle this case;

22           2.      All parties appearing pro se;

23           3.      All individual parties;

24           4.      In the case of non-individual parties, an officer or representative with binding

25   authority to settle this matter up to the full amount of the claim or last demand made; and

26           5.      If any party is subject to coverage by an insurance carrier, then a representative of

27   the insurance carrier with authority to settle this matter up to the full amount of the claim or last

28   demand.
     Case 2:13-cv-01154-APG-CWH Document 167 Filed 04/30/19 Page 2 of 3




 1          A request for an exception to the foregoing personal attendance requirements must be

 2   filed and served on all parties at least 14 days before the settlement conference.

 3                      PREPARATION FOR SETTLEMENT CONFERENCE

 4           In preparation for the settlement conference, each party must submit a confidential

 5   settlement conference statement for in camera review. The statement must contain the following:

 6          1.      A brief statement of the nature of the action.

 7          2.      A concise summary of the evidence that supports your theory of the case,

 8   including the names of individuals disclosed pursuant to Rule 26(a)(1)(A)(i), the Rule

 9   26(a)(1)(A)(iii) computation of damages, and the Rule 26(a)(1)(A)(iv) insurance information.

10   You must provide all information which documents or supports your damages claims. Copies of

11   medical records or treatment records need not be submitted but, rather, must be provided in a

12   table or summary format.

13          3.      Attach to your statement any documents or exhibits that are relevant to key factual

14   or legal issues, including selected pages from deposition transcripts or responses to other

15   discovery requests.

16          4.      An analysis of the key issues involved in the litigation. The analysis must include

17   a discussion of the strongest points in your case, both legal and factual, and a frank discussion of

18   the weakest points as well. The court expects you to present a thorough analysis of the key issues

19   and candid evaluation of the merits of your case.

20          5.      Identify and explain any obstacles to settlement, e.g. medical liens, statutory caps,

21   or motions pending before the court.

22          6.      The history of settlement discussions, if any, which have occurred in this case.

23   Provide any demands, offers, or offers of judgment that have been made and, if applicable, the

24   reasons they have been rejected. Attach a copy of all settlement correspondence, including all

25   written demands or offers and responses to the offers.

26

27

28
                                                       2
     Case 2:13-cv-01154-APG-CWH Document 167 Filed 04/30/19 Page 3 of 3




 1          7.      Provide the initial settlement proposal that will be presented at the settlement

 2   conference with a justification for any monetary amount. The proposal must include any non-

 3   monetary settlement terms that will be presented.

 4          8.      The parties are encouraged, but not required, to exchange non-confidential

 5   portions of the settlement conference statements before the scheduled conference. The court has

 6   found the exchange of statements beneficial for purposes of settlement discussion.

 7          The settlement conference statements must be received in my chambers, Room 3014, not

 8   later than 4:00 p.m. on Thursday, May 23, 2019. Do not serve a copy on opposing counsel. Do

 9   not deliver or mail copies to the clerk’s office.

10          The purpose of the statement is to assist the undersigned magistrate judge in preparing for

11   and conducting the settlement conference. To facilitate a meaningful conference, your utmost

12   candor in responding to all of the above-listed questions is required. The settlement conference

13   statement will remain confidential. If this case does not settle, the settlement conference

14   statement will not be disclosed to the judge who ultimately presides over the trial. Each statement

15   will be securely maintained in my chambers and will be destroyed following the conference.

16          Failure to comply with the requirements set forth in this order will subject the non-

17   compliant party to sanctions under Federal Rule of Civil Procedure 16(f).

18

19          DATED: April 30, 2019

20

21                                                           C.W. HOFFMAN, JR.
                                                             UNITED STATES MAGISTRATE JUDGE
22

23

24

25

26

27

28
                                                         3
